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                IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA




                            Defendant.


        rvrE oF coNFERENCE/HEARING,                   \V\.dial cavtf,1U4'\C e
                                         Before Judge Ambrose

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 Appear for Plaintiff                                 Appear for Defendant


 Hearing begun: \q z;i {1 b (l C(: S'l- CV\l'I\.
 Hearing concluded: u(i1 /1~e tz...: l] PW\,        Clerk:   , erry Halfhill /
                                                             Anne Kurzweg


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                     Case 2:18-mc-01001-DWA Document 106 Filed 11/27/18 Page 2 of 4
                                                 PLAINTIFF SIGN-IN
Place a checkmark ( ✓) next to your name once you have arrived. If your name is not on the list, please add it.


          PLAINTIFF                                                        COUNSEL

Utah Foam Products, Inc.            David Spear               Megan Jones ·                Breat L!:lfldau
                                    Elana K~her               Melieda Ceolidge             Michael Hausfekl
                                    Robert 1<¢lan


C.U.E., Inc.                       Andi::ew Fiflkelstein                                  Poter Pcai Iman


Rhino Linings Corporation           fascm Lettis Lichtman                                 Dean Harvey
                                    LiH--eharr


Tri-iso Tryline, LLC               ..'Steven. WilliarfiS--,
                                   ..-::r
                                        ~Lf ~ St, J .(.r \
Isaac Industries, Inc.               Anthony Shapiro J        E. Powell MilleF-
                                                                             ✓            Jason. Zweig
                                   . Melvin Hollowell         Ronnie Spiegel              Sharefl-Almonrnde
                                     Steve Bet man            Edwin Kilpela V--
                                     Gary Lynch V-            _.Ktw-ifl-b,ve



Elliott Company of Indianapolis,    l3riau..Bames             Charles Cooper              Elan atcher
Inc.                                Harold Reeves             Michael Kifk                Robe~aplan
                                    Benl,rfd Marcus           Bri~Ii11                   -Erie Allee
                                    Moir\vCain-Mannix


Finishing Solutions LLC             Chris He1lums , /     L Elliott Walfuall              James Bru-ger
                                    Jonathan Mann V       Dasha Gorlov                    PeteI Wolff
                                    William Pietragallo ✓


Emma Chemicals Co., Inc.           ~rtCoarm                   Linda Naussbaum      £--

NPC Coating , Inc.                 ~ein


Bryn Hill Industries, Inc.         Ari Ruben         /                                   A-run. Su.braroauian
                                   Beatrice Franklin


Era Polymers Proprietary Limited                              Ellen Meriwether             Gary Lynch
                                                              batlt a Ale}tander         .-Mi-Ghae.1 Boni
                                                              Fcichard Koffmaa             Sharon Robertson/



Unicast, Inc.                      Joshua 61 abar             Marn Edelson
                          Case 2:18-mc-01001-DWA Document 106 Filed 11/27/18 Page 3 of 4
                                                              DEFENDANT SIGN-IN
        Place a checkmark (✓) next to your name once you have arrived. If your name is not on the list, please add it.
1                                                                                                                                       1
    ·




                DEFENDANT                                                                              COUNSEL

        BASF SE


        BASF Corp.                         Andrew Marovitz✓                          BciJ;t;Mi!lef'-                     Rielutt'd Nowak:
                                           Rk,bard S13ehr                            Thomas Allen✓                       Ginevra Ventre✓

        Bayer A.G.


        Bayer Corp.                        All,Hlft Bbdel                           ---hftaFe...., MttFe I it:z:        John Terzaken a,'
                                           L.esJ.i.e..Httys                           ~ l


        Bayer Materialscience LLC


        Convestro A.G.

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        Convestro LLC                      Alpert Bixlei:                           AfleFe•,¥-M~r e I it~              John Terzaken V
                                           I ,es)ie Hayes-                           Gary McCenrrctr
                                                                                                                       -1,,V\ u,.:~                ✓
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        DowDupont Inc.                    If ~- ---- ~J
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                                         I David Bernick                             lwan Moltz                        ~endy West Feinstein
                                           Willia1+1 McEuroP-                        ~it                                ~~goz@n

                                            /
        Dow Chemical Company             '/wendy West Feinstein                     .ear-I Burkhalter                    faan Moltz     r



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        Huntsman Corp.                    vJ"ohn Schmidtlein                        Zaehary Wm re11                     Yames Miller


        Huntsman International LLC          .       ,E        ~,       ,.:+
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                                                                                    ~ Schmidtelein                       ZacRaf!r' Wai:i::an
                                          !Varn~; Mill~r
        Huntsman LLC.


        MCNS aka MITSUI CHEMICALS
        aka SKC POLYURETHANES,
        Inc.

        MCNS Polyurethanes USA Inc.        Allen K:im                               ~:,e, ~ ~i,,illall, Jr.             Ryan Sandrock          V
                                           Matthell.'. Eilsue::                      Samuel Braver             ~

        Mitsui Chemicals, Inc.

                                                                                                                   /                               /
        Mitsui Chemicals America, Inc.     David BrnWft5te-it1                      David Goldstein ✓                    James Backsrom ✓
                                           W-ill-iam-1¼1~
                Case 2:18-mc-01001-DWA Document 106 Filed 11/27/18 Page 4 of 4
  ,.   DEFENDANT                                                        COUNSEL
          (page 2)

Mitsui Chemicals & SKC
Polyurethanes, Inc.

Wanhua Chemical Group Co. LTD


Wanhua Chemical America Co.     Alden Atkins/        ....AfiGl'e 11 ~ittrn ~ itz   Craig Seebald __..,.
LTD                             Charles Wesley r""


Wanhua Chemical US Holding,
Inc.
